  Case: 6:18-cv-00279-REW Doc #: 13 Filed: 02/28/19 Page: 1 of 3 - Page ID#: 96



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

  UNITED STATES OF AMERICA,                           )
                                                      )
          Plaintiff,                                  )           No. 6:18-CV-279-REW
                                                      )
  v.                                                  )
                                                      )                    ORDER
  ESTATE OF BETTY LOUISE PARKS,                       )
  DECEASED, et al.,                                   )
                                                      )
          Defendants.
                                        *** *** *** ***


       The United States filed this foreclosure action on October 29, 2018. DE #1 (Complaint).

On February 20, 2019, the Court directed the United States to show cause why the Court should

not dismiss the action based on the Government’s failure to serve Defendants within the time

permitted by Federal Rule of Civil Procedure 4(m). DE #4. The United States responded, largely

citing its inability to locate the Defendants as the basis for its service delay. DE #5. Plaintiff also

filed motions for Warning Orders as to each Defendant contemporaneously with its response. DE

##7, 8, 9, 10, 11, 12.

       Rule 4(m) provides:

       If a defendant is not served within 90 days after the complaint is filed, the court—
       on motion or on its own after notice to the plaintiff—must dismiss the action
       without prejudice as to that defendant or order that service be made within a
       specified time. But if the plaintiff shows good cause for the failure, the court must
       extend the time for service for an appropriate period.

Fed. R. Civ. P. 4(m). The current formulation of the Rule thus permits the Court, in its discretion,

either to dismiss the action without prejudice or to extend the time for service, where the plaintiff

has not shown good cause for its failure to timely serve the defendants. However, “[t]he second


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  Case: 6:18-cv-00279-REW Doc #: 13 Filed: 02/28/19 Page: 2 of 3 - Page ID#: 97



sentence ‘eliminates the Court's discretion where good cause is shown.’” Raniero v. UPS Ground

Freight, Inc., No. CV 16-230-DLB-CJS, 2017 WL 5075245, at *1 (E.D. Ky. Nov. 3, 2017)

(quoting Bradford v. Bracken Cty., 767 F. Supp. 2d 740, 753 (E.D. Ky. 2011)). Accordingly, the

Court first looks to whether good cause exists for the failure to serve, and, if there is none, it next

must consider whether dismissal or additional time is appropriate, in its discretion. Id. While Rule

4(m) does not explicitly define good cause, “the Sixth Circuit has required ‘at least excusable

neglect.’” Bradford, 767 F. Supp. 2d at 754 (quoting Stewart v. Tenn. Valley Auth., 238 F.3d 424

(Table), No. 99-5723, 2000 WL 1785749, at *1 (6th Cir. 2000)). As in Rule 6(b), “[t]he

determination of whether a case of neglect was excusable is at bottom an equitable one, taking

account of all relevant circumstances surrounding the party's omission.” Turner v. City of Taylor,

412 F.3d 629, 650 (6th Cir. 2005). However, “[t]he excusable neglect standard has consistently

been held to be strict, and can be met only in extraordinary cases.” Id. (quoting Marsh v.

Richardson, 873 F.2d 129, 130 (6th Cir. 1989)); see also Raniero, 2017 WL 5075245, at *2.

        As grounds for its failure to serve Defendants within the ninety-day limit, Plaintiff states

that (1) it attempted to serve Vicky Mays at her last known address via certified mail, but the mail

was returned as undeliverable; (2) it attempted to locate another address for Mays, but the search

was unsuccessful; and (3) it has been equally unsuccessfully attempting—since the filing of the

Complaint—to locate other heirs of Betty Louise Parks. DE #4 at 1. Plaintiff does not address the

remaining Defendants, nor does it explain its failure to pursue Warning Order services for the

unlocated Defendants prior to the Rule 4(m) deadline. Accordingly, given this explanation, the

United States has not shown excusable neglect or good cause for its failure to take further action

before the ninety-day period lapsed.




                                                  2
  Case: 6:18-cv-00279-REW Doc #: 13 Filed: 02/28/19 Page: 3 of 3 - Page ID#: 98



       However, the Court, in its discretion, nevertheless finds it appropriate to extend the time

for service here. Importantly, Plaintiff’s failure to serve was in good faith, and there is no evidence

of dilatory conduct or tactical scheming in the delay. Cf. Turner v. Kentucky Transp. Cabinet, No.

CIV.A. 3: 10-39-DCR, 2010 WL 5014516, at *4 (E.D. Ky. Dec. 3, 2010) (finding that the

plaintiff’s dilatory conduct weighed against allowing belated service); Stewart, 2000 WL 1785749,

at *1 (considering the plaintiffs’ lawyer’s tactical decision-making further reason for dismissal).

Additionally, the Court perceives no prejudice to Defendants in extending the time for service, and

allowing a brief extension best serves the interests of justice and preservation of resources. See

John W. Stone Oil Distrib., LLC v. PBI Bank, Inc., No. 3:09-CV-862-H, 2010 WL 3221800, at *2

(W.D. Ky. Aug. 12, 2010) (weighing heavily the fact that “Plaintiff will be free to re-file tomorrow

and will simply re-effect service of process” in the case of dismissal without prejudice, and finding

ultimately persuasive “the apparent lack of prejudice in permitting the case to proceed and the

potential waste of resources caused by dismissal without prejudice”). To this end, the Court notes

as significant that Plaintiff has already filed Warning Order motions and is prepared to proceed

promptly with service; any necessary extension is thus brief and justified under the circumstances

and per the relevant standards.

       Accordingly, the Court DISCHARGES DE #4 and extends the time for service up to and

including the date Plaintiff filed its motions pursuing Warning Order relief. The Court addresses

those motions, and Warning Order mechanics, via separate Order.

       This the 28th day of February, 2019.




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